Case 6:19-cv-01264-RBD-LRH Document 66 Filed 08/02/21 Page 1 of 1 PagelD 876

AQ 133 (Rev, 12/09) Bill of Costs

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

AMBER FERGUSON )
v. Case No.: 6:19-cv-1264-Orl-37LRH
WAYNE IVEY )
)
BILL OF COSTS
Judgment having been entered in the above entitled action on 07/02/2021 against _ AMBER FERGUSON i
the Clerk is requested to tax the following as costs: oe
Pees of the Clerk: occu cece ee cece ects sare scene sone ene coe cee Sale w GAM Bale Mal alet Gal @ HOS Wale ale Hy $
Fees for service of summons and subpoena ....... 0.0 ccc e eet eeeee ene teen eee
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case...... 1,152.10

Fees and disbursements for printing ........ 0066. c eee tte teeter nee eee e eens
0.00

Fees for witnesses fitemize on page WO) wie nee nee tenet eee eee eee

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case... 0.0... eee eee eee ene nes

Docket fees whder QB USC. 1923 2 asic save ace a vane stew sane wove elev wince ono e eae eons Mee wine et Ae
Costs as shown on Mandate of Court of Appeals ......... 2666 e cee cece cece eee teens
Compensation of court-appointed experts 2.6... 2.6 eee eee ene
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....
Other COStS (please HemizE) esc. vir wee eave wee ewes eee conte wne omen erate auaiie RMSE Acie enue done em, Rone Reon
TOTAL $ 4,152.10

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

 

Declaration

 

I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:

 

Electronic service [] First class mail, postage prepaid
[J Other:
s/ Attorney: Marc A. Sugerman

 

Name of Attorney: Marc A. Sugerman

 

 

For: WAYNE IVEY in his official capacity as Sheriff of Brevard County, Elor ida _—S—sCODaatte: 07/06/2021
Name of Claiming Party

 

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Elizabeth Wore). By: A Fea me Lith ile << 8/8
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Costs are taxed in the amount of $ L ISa). w= _=_ and included int 13041 -

Clerk of Court Dipuy Clerk Date
